               Case 8:19-mj-00063-GLS Document 8 Filed 02/15/19 Page 1 of 1
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                                  IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF MARYLAND                                              FEB 1 5 2019
                                                                                                                    AT GREENBELT
                                                                                                              MEM, U.S. DISTRICT COURT
                                                                                                                DISTRICT OF MARYLAND DEPUTY
UNITED STATES OF AMERICA

                        vs.                                                         Case No. GLS 19-mj-00063

       Christopher Paul Hasson




                     ORDER OF TEMPORARY DETENTION PENDING HEARING
                              PURSUANT TO BAIL REFORM ACT
                                                                                                                                  •
                                                                                                                              '          (r)
          Upon motion of the United States for Temporary Detention, it is ORDERED that a detentithcm

hearing is set for re4bk4)                         ov,	c22-0/ 9                 (date) at   I.         (time) before

       Claks                   6.       0                                             , United States Magistrate Judge,

6500 Cherrywood Lane, Greenbelt, Maryland 20770 Courtroom                                        TBD

          Pending this hearing, the defendant shall be held in custody by (the United States Marshal)

                                                                                                  ) (Other Custodial Official)

and produced for the hearing.



February 15 2019
Date                                                                        ma L. Simms
                                                                           United States Magistrate Judge




U.S. District Court (4/2000) Criminal Magistrate Forms: Order Temp. Detention
